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Jeffrey A. Cohen                                      Gregory D. Miller
                                                                                 CLOSEP
 FLASTER GREENBERG, PC                                Kori M. Clanton
2nd Floor 1810 Chapel Avenue West                     RIVMN RADLER LLP
Cherry Hill, New Jersey 08002                         21 Main Street, Court Plaza South
j eff.coh enflastergreenberg.com                      \Vest Wing, Suite 158
(856) 382-2240                                        Hackensack, New Jersey 07601-7021
                                                      gregory.millerrivkin.com
OF COUNSEL:                                           kori.clanton@rivkin.com
R. Eric Gaum                                          (201) 287-2460
Amanda H. Wilcox
HAHN LOESER & PARKS LLP                               OF COUNSEL:
200 Public Square, Suite 2800                         Michael A. Dorfman
Cleveland, Ohio 44114                                 Thomas J. Mans
regaumthahnlaw.com                                    KATTEN MUCHIN ROSEMAN LLP
awilcox@hahnlaw.com                                   525 West Monroe Street
(216) 621-0150                                        Chicago, Illinois 6066 1-3693
                                                      micliael.dorfman@kattenlaw.com
Attorneys for Plaintiff Horsemen ‘s Pride, Inc.       thomas.maas@kattenlaw.com
                                                      (312) 902-5200

                                                      Attorneys for Defendant, Ethical Products, Inc.


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                                  1
                                                         Civil Action No. 2:]7-cv-07861 (ES) (SCM)
 HORSEMEN’S PRIDE, INC..
                                  Plaintiff.

                -against-                                    STIPULATION OF DISMISSAL
                                                                  WITH PREJUDICE

 ETHICAL PRODUCTS, INC.,

                                 Defendant.

         IT [S HEREBY STIPULATED AND AGREED. by and between the parties, that the

 above-captioned matter shall be dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of

 the Federal Rules of Civil Procedure, with each party to bear its own costs and lees.

DATED: December 18, 2017
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FEASTER GREENBERG, PC                               IUVKJN RADEER LLP

By: s/ Jeffrey A. Cohen                             By:s/ Gre eorv D. Miller
        Jeffrey A. Cohen                                    Gregory D. Miller
2nd Floor 1810 Chapel Avenue \Vest                          Kori M. Clanton
 Cherry Hill, New Jersey 08002                      21 Main Street, Court Plaza South
jeff.cohenflastergreenberg.com                      West Wing, Suite 158
(856) 382-2240                                      Hackensack, New Jersey 07601-7021
                                                    gregory.millerrivkin.com
OF COUNSEL:                                         kori.clanton@rivkin.com
R. Eric Gaum                                        (20!) 287-2460
Amanda H. Wilcox
HAHN LOESER & PARKS LLP                             OF COUNSEL:
200 Public Square, Suite 2800                       Michael A. Dorfman
Cleveland, Ohio 44114                               Thomas J. Maas
regaumhahnlaw.com                                   KATTEN MUCHEN ROSEMAN LLP
awilcox@halrnlaw.com                                525 \Vest Monroe Street
(216) 621-0150                                      Chicago, Illinois 6066 1-3693
                                                    michael.dorfman@kattenlaw.com
Attorneys/or Plaint1ff Horsemen’s Pride, Inc.       thomas.maas@kattenlaw.com
                                                    (312) 902-5200

                                                    Attorneys for Defendant, Ethical Products, Inc.




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